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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


  BARTON GELLMAN,

                  Plaintiff,

                           v.
                                                       Civil Action No. 16-0635 (CRC)
  DEPARTMENT OF HOMELAND
  SECURITY, et al.,

                  Defendants.


                                             ORDER

         Upon consideration of the Parties’ Joint Status Report, and the entire record herein, it is

hereby

         ORDERED that the Parties shall file a Joint Status Report by June 29, 2018, informing

the Court as to the status of this proceeding and identifying what, if any, issues remain. If the

Parties determine that dispositive motion practice is necessary, they will also submit a proposed

order setting a briefing schedule concurrently with that joint status report.

SO ORDERED.
June 7, 2018
Date                                                          United States District Judge
